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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 16-CV-01789-WJM-KLM

   JOHN DOE,

          Plaintiff,

   v.

   PHILIP DISTEFANO, in his official capacity as
   Chancellor of the University of Colorado,
   Boulder,

          Defendant.


                       STIPULATED MOTION FOR PROTECTIVE ORDER


          The Parties submit the following Motion for Protective Order:

          1.      Fed. R. Civ. P. 26(c) provides that the Court may enter a Protective Order

   upon a showing by the parties of good cause to protect the discovery and dissemination

   of confidential information or information which will improperly annoy, embarrass, or

   oppress any party, witness, or person providing discovery in this case.

          2.      The parties anticipate that during discovery they will be exchanging

   documents that are confidential and implicate common law and statutory privacy

   interest involving personnel, medical, business, financial or proprietary information of

   the parties. As such, good cause exists for the entry of a protective order to protect the

   parties from the disclosure of information, which will improperly annoy, embarrass, or

   oppress any party, witness, or person providing discovery in this case.

          WHEREFORE, the Parties respectfully request this Court to enter the proposed
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   Protective Order submitted herewith.

         DATED: July 26, 2018.

         Respectfully submitted,


    s/ Michael Mirabella                         s/ David P. Temple
    Michael Mirabella                            David Temple
    Michael Mirabella, P.C.                      Erica Weston
    450 East 17th Avenue , Suite 400             Office of University Counsel
    Denver, CO 80203                             1800 Grant Street, Suite 700
    mmirabella@mbellalaw.com                     Denver, CO 80203
    Attorney for Plaintiff                       Tel: 303-860-5691
                                                 Fax: 303-860-5650
    s/ Andrew T. Miltenberg                      David.Temple@cu.edu
    Andrew T. Miltenberg, Esq.                   Erica.Weston@cu.edu
    Tara J. Davis, Esq.                          Attorneys for Defendant
    Nesenoff & Miltenberg LLP                    Philip DiStefano
    363 7th Avenue, Fifth Floor
    New York, NY 10001
    amiltenberg@nmllplaw.com
    tdavis@nmllplaw.com
    Attorneys for Plaintiff

                                  CERTIFICATE OF SERVICE

         I hereby certify that on July 26, 2018, I electronically filed the foregoing

   Stipulated Motion for Protective Order with the Court’s electronic filing system

   (CM/ECF) which will automatically cause notification to be sent to all of the above

   counsel of record.

                                                    /s/ Kait Searcy
                                                    Kait Searcy, Paralegal




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